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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          Mara Berton                       ,           Case No. 4:23-cv-01849-HSG
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                  v.                                        OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                   7          Aetna Inc., et al                 ,           (CIVIL LOCAL RULE 11-3)
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Hugh S. Baran                , an active member in good standing of the bar of

                                  11   New York                               , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Mara Berton                        in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Rebecca Peterson-Fisher           , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         255359

                                  16   111 Broadway, Ste 1702 New York, NY                  235 Montgomery St, Ste 665 San Francisco,
                                  17   10006                                                CA 94104
                                        MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   646-759-4501                                         415-813-3271
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       baran@katzbanks.com                                  peterson-fisher@katzbanks.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 5560420              .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: February 27, 2025                                      Hugh S. Baran
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Hugh S. Baran                           is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: 2/28/2025

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
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            Appellate Division of the Supreme Court
                    of the State of New York
                  Second Judicial Department


     I, Darrell M. Joseph, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                    Hugh Stephen Baran
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on April 4, 2018,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and     according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Brooklyn on
                            January 28, 2025.




                                 Clerk of the Court


CertID-00211516
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                                  Appellate Division
                         Supreme Court of the State of New York
                              Second Judicial Department
                                   45 Monroe Place
                                Brooklyn, N.Y. 11201
                                        (718) 875-1300
 HECTOR D. LASALLE                                                          KENNETH BAND
   PRESIDING JUSTICE                                                      MELISSA KRAKOWSKI
                                                                              DEPUTY CLERKS
DARRELL M. JOSEPH
  CLERK OF THE COURT                                                        WENDY STYNES
                                                                           LAUREN G. DOME
                                                                          BRIAN E. KENNEDY
                                                                              January 7, 2005
                                                                          ASSOCIATE DEPUTY CLERKS



To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


        New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


        Instructions, forms and links are available on this Court's website.




                                                  Darrell M. Joseph
                                                  Clerk of the Court




Revised October 2024
